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VIA CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801

Re:      Citrix Systems, Inc. v. Workspot, Inc., C.A. No. 18-cv-00588-LPS

Dear Chief Judge Stark:

        The parties provide the following joint status report in response to the Court’s September
25, 2020 order on Citrix Systems, Inc.’s (“Citrix”) motion for sanctions. D.I. 412. In order to
“determin[e] the amount of additional fees and costs Workspot is to pay Citrix,” (D.I. 412 at ¶ 3),
the parties propose, subject to the Court’s approval, they follow a similar procedure as they did
in response to the Court’s fee award at the December 12, 2018 hearing on Citrix’s TRO motion,
namely:
      1. On October 2, 2020, Citrix provided to Workspot a letter accounting of the amount of
         fees incurred by Citrix that are included in the Court’s fee award including a spreadsheet
         with information about outside counsel fees. Citrix did not provide to Workspot the
         relevant time sheets since the billing narratives contain privileged information.
      2. On October 7, 2020, Citrix will provide an updated accounting of the amount of fees
         incurred by Citrix to identify with more particularity the pleadings, discovery and
         timeframe related to the requested fees.
      3. Workspot will provide its position by Friday, October 16.
      4. The parties will subsequently meet and confer as to whether there is any dispute as to the
         amount.
      5. After conducting a good faith meet and confer under Local Rule 7.1.1, should the parties
         have any remaining disputes related to the amount of the fee award, the parties propose
         availing themselves of Magistrate Judge Fallon’s discovery dispute procedures. Should
         the dispute require review of Citrix’s billing records, the parties propose providing those
         for in camera review to Magistrate Judge Fallon.
Counsel is available at your convenience should you have any questions.




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Respectfully submitted,
DLA Piper LLP (US)
/s/ Brian A. Biggs
Brian A. Biggs (DE Bar No. 5591)
Counsel for Plaintiff Citrix Systems, Inc.
cc: All Counsel of Record




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